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4     Attorneys for Plaintiff
      Briana Valdez
5

6                               UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
7

8                                                   Case No.: 2:16-cv-06424
      BRIANA VALDEZ,
9
                  Plaintiff,
10                                                  NOTICE OF VOLUNTARY
             v.                                     DISMISSAL WITH PREJUDICE
11

12
      CAPITAL ONE FINANCIAL, COPR.,
13                Defendant.
14

15

16
             Pursuant to F.R.C.P. 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff
17
      Briana Valdez by and through her undersigned attorneys, hereby voluntarily dismisses
18

19
      with prejudice Defendant Capital One Financial Corp. from this action in its entirety,

20    with each party to bear their own costs and attorneys’ fees.

21    ///
22
      ///
23
      ///
24
      ///
25




                                  NOTICE OF VOLUNTARY DISMISSAL
                                                  -1-
     Case 2:16-cv-06424-PSG-MRW Document 13 Filed 05/03/17 Page 2 of 2 Page ID #:37



                                                RESPECTFULLY SUBMITTED,
1

2
      Dated: May 3, 2017                               By:/s/ Stuart Price            .
3                                                      Stuart Price, Esq.
                                                       stuart@pricelawgroup.com
4                                                      Attorneys for Plaintiff,
                                                       Briana Valdez
5

6

7

8

9                                 CERTIFICATE OF SERVICE

10           I hereby certify that on May 3, 2017, I electronically filed the foregoing with the

11    Clerk of the Court using the CM/ECF system, which will send notice of such filing to all

12    attorneys of record in this matter. Hard copies of the foregoing have been provided via

13    electronic mail to:

14
      Erin L. Hoffman
15    FAEGRE BAKER DANIELS LLP
16
      2200 Wells Fargo Center
      90 S. Seventh Street
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18    Tel: (612) 766-8043
19
      /s/ Sandra Padilla
20

21

22

23

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                                 NOTICE OF VOLUNTARY DISMISSAL
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